
247 P.3d 1278 (2011)
240 Or. App. 809
In the Matter of A.S., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
A.S., Appellant.
M1004007; A145521.
Court of Appeals of Oregon.
Submitted January 7, 2011.
Decided February 16, 2011.
Gay Canaday filed the brief for appellant.
John R. Kroger, Attorney General, Mary H. Williams, Solicitor General, and Douglas F. Zier, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and DUNCAN, Judge.
PER CURIAM.
Appellant appeals an order committing her to the Mental Health Division for a period of time not to exceed 180 days. ORS 426.130. At the commitment hearing, the court indicated that "there is clear and convincing evidence in my mind that [appellant] will not soon be able to safely survive by meeting her basic needs if she is discharged." On appeal, we review the record to determine whether there is legally sufficient evidence to support the trial court's determination. A discussion of the facts would not benefit the bench, the bar, or the public. The state concedes that the evidence in the record is legally insufficient to support the court's determination. We agree and accept the state's concession.
Reversed.
